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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case No. 3:20cr56-TKW

TINA TERRELL
_______________________________/

                         REPORT AND RECOMMENDATION
                          CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count One of the Indictment. After

cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined the guilty plea was knowing and voluntary and

the offense charged is supported by an independent basis in fact containing each of

the essential elements thereof. I therefore recommend the plea of guilty be accepted

and the Defendant be adjudicated guilty and have sentence imposed accordingly.

       Dated this 8th day of January 2021.



                                /s/ Charles J. Kahn, Jr.
                                CHARLES J. KAHN, JR.
                                UNITED STATES MAGISTRATE JUDGE



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                         NOTICE TO THE PARTIES

      Objections to these proposed findings and recommendations may be filed
within twenty-four hours after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only, and does not control. A copy of objections shall be served upon the
magistrate judge and all other parties. A party failing to object to a magistrate
judge's findings or recommendations contained in a report and
recommendation in accordance with the provisions of 28 U.S.C. § 636(b)(1)
waives the right to challenge on appeal the district court's order based on
unobjected-to factual and legal conclusions. See U.S. Ct. of App. 11th Cir. Rule
3-1; 28 U.S.C. § 636.




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